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FORM TO BE USED BY A PRISONER JN FLING WCOMBEAINT
UNDER THE CIVIL RIGHTS BEF. 4e7U 6.6.8 58S"
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UNITED STATES DISTRICH COURT "
FOR THE DISTRICT OF NEW JERSEY

Steven Mi Stadle WW7/4

Enter above the full name of the plaintiff in this action)

Civil Action No.
(To be supplied by the clerk of the court)

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John A, Devlin |
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(Enter above the full name of the defendant in this action)

 

INSTRUCTIONS -- READ CAREFULLY
1, This complaint must be legibly handwritten or typewritten, signed by the plaintiff and
subscribed to under penalty of perjury as being true and correct. All questions must be
answered concisely in the proper space on the form. Where more space is needed to
answer any question, attach a separate sheet.

2. In accordance with Rule 8 of the Federal Rules of Civil Procedure, the complaint should
contain (1) a short and plain statement of the grounds upon which the court’s jurisdiction
descends, (2) a short plain statement of the claim showing that you are entitled to relief,
and (3) a demand for judgment for the relief which you seek.

3. You must provide the full name of each defendant or defendants and where they can be
found.
4. You must send the original and one copy of the complaint to the Clerk of the District

Court. You must also send one additional copy of the complaint for each defendant to the
Clerk. Do not send the complaint directly to the defendants.
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Upon receipt of a fee of $120.00, your complaint will be filed. You will be responsible
for services of a separate summons and copy of the complaint on each defendant. See
Rule 4, Federal Rule of Civil Procedures.

If you do not have the necessary filing fee, you may request permission to proceed in
forma pauperis, in which event you must execute the application accompanying this form,
setting forth information establishing your inability to prepay the fees and costs or give
security therefor. If you wish to proceed in forma pauperis, you must also submit a
certified copy of your trust fund account statement (or institutional equivalent) which
must reflect all deposits on your account for the 6-month period immediately preceding
submission of this application, obtained from the appropriate official of each prison at
which you are or were confined.

If you are given permission to proceed in forma pauperis, you may be required to pay an
initial filing fee. If so, no complaint will be filed unless this initial filing fee is paid. You
will also be required t make monthly payments of 20 percent of the preceding month’s
income credited to your account. The Department of Corrections shall forward payments
from your account to the Clerk each time the amount in the account exceeds $10 until the
filing fee is paid. The Clerk will prepare and issue a copy of the summonses and the
copies of the complaint which you have submitted shall be forwarded by the Clerk to the
United States Marshal, who is responsible for service. The Marshal has USM-285 forms
you must complete so that the Marshal can locate and serve each defendant. If the forms
are sent to you, you must complete in full and return the forms to the Marshal.

Applications for leave to proceed in forma pauperis which do not conform to these
instructions will be returned by the Clerk with a notation as to the deficiency.

QUESTIONS TO BE ANSWERED

Previous Lawsuits
(a) Have you filed gny other suits in federal or state court since you were imprisoned?
{ ] Yes iN Oo

(b) If your answer to (a) is “Yes”, describe the lawsuit in the spaces below. (if there is
more than one suit, describe the additional suits on a separate sheet, answering the
same question for each suit.

i. Parties to previous suit:

Plaintiffs: ui A

Defendants: Al / A |

[

 

 
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Is

 

2
ii, Court (If Federal court va the district, if state court, name the
County) M, A

 

lil. Docket Number: N / A

iv. Name of Judge to whom case was assigned: . o A

 

Vv. Disposition (for example: Was the suit dismissed? Was there an Appeal?
it still pending?) w / A |

vi. Approximate date of filing suit: M / ft

vii. | Approximate date of disposition: Al / AL

viii. Issue in previous suit? My A

 

 

Place of present confinement? M / A

Parties

(In item (a) below, place your name in the first blank and place your present address in the
second blank. Do the same for the additional plaintiffs. If any.)

A.

Name of plaintiff: . Steve YI MM ‘ Shad le vo
Address: At ant Cc C omty Just. ce faci Lb |

 

Inmate Number. Z2-( YU! 1Y

 
  
   

First Defendant -- name:f) [le
K-4 ofFreen Clany animal) ATlantic ¢

Official Position: “Vol: ce of f een. D>

Place of employment: Alawt-c C chy Police Drepowtt mevit-

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3
How is this person involved in the case? (1.e., what are you alleging that this
person did or did not do that violated your constitutional rights?)

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C. If there is more than one defendant, attach a separate sheet. For each specify: (1)

Name, (2) Official position, (3) Ady of employment, and (4) Involvement of the

defendant. S FE EA

Statement of claims

(State here as briefly as possible the facts of your case. Describe how each defendant
violated your rights, giving dates and places. If you do not specify how each defendant
violated your rights and the date(s) and place of the violations, your complaint may be
dismissed. Include also the names of other persons who are involved, including dates and
places. Do not give any legal arguments or cite any cases or statutes. If you intend to

_ allege a number of related claims, number and set forth each claim in a separate paragraph.
Use as much space as you need. Attach a separate sheet if necessary.)

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5. Relief

(State briefly exactly what you want the Court to do for you _ Make no legal arguments.
Cite no cases or statutes. )

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6. Do you request a jury or a non-jury trial? (Check only one)

wv rory Trial [ ] Non-Jury Trial

I declare under penalty of perjury that the foregoing is true and correct.

signed this ¥Ppuatun. LM Sfbedee day of Agel “21 2013

\U uostathe

Signature of Plaintiff

EACH PLAINTIFF NAMED IN THE COMPLAINT MUST SIGN THE COMPLAINT HERE.
ADD ADDITIONAL LINES IF THERE IS MORE THAN ONE PLAINTIFF. REMEMBER,
EACH PLAINTIFF MUST SIGN THE COMPLAINT.
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FORM TO BE USED BY A PRISONER IN FILING A COMPLAINT
UNDER THE CIVIL RIGHTS ACT. 42 U.S.C. § 1983

IN THE UNITED STATES DISTRICT COURT

 

FOR THE EASTERN DISTRICT
( S QUAN M ‘ holes
"(Enter above the full name of the
plaintiff in this action)
Vs

Glenn Abeans TR:
Sohn A, Dovlin

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ptootie Cara, Polico. RyAretirert

(Enter above the full name of the defendant or
Defendants in this action)

I. Previous lawsuits
A. Have you begun other lawsuits in state or federal court dealing with the same facts

involved in this action or otherwise relative to your imprisonment? Yes( ) No ( )
B. If your answer to A is yes, describe the lawsuit in the space below. (If there is more than
one lawsuit, describe the additional lawsuits on another piece of paper, using same

outline.)
1. Parties to previous lawsuit: |
Plaintiffs M/A

 

 

Defendants NAN / A

 

2. Court Gf federal court, name the district. rw / “A
. * t .

If state court, name the county.)

3. Docket number al “A

4. Name of judge to whom case was assigned A/ / AC
/

 

5. Disposition (for example: was the case dismissed? Was it appealed? Is it still

pending?) Ai]

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6. Approximate date of filling lawsuit Af LA-

7. Approximate date of disposition fv / A

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IJ. Place of present confinement AJ | fA
{
A. Is there a prisoner grievance procedure in this institution? [ ] yes [Wno

B. Did you present the fagts- relating to your complaint in the state prisoner grievance
procedure? [ ] yes [W no

 

 

 

 

 

C. If your answer is yes, /
1, What steps did you take?__- iM &
2. What was the result? pV | A
D. If your answer is no, explain why not NM fH A

 

E. If there is no prison grévance procedure in the institution did you complain to prison
- authorities? [ ] yes [J] no

F. If your answer is yes, /,
1. What steps did you take? NM At

 

2. What was the result? pw, | 4

 

Ill. Parties .
(in item A below, place your name and prison identification number in the first blank and

place your present address in the second blank. Do the same for additional plaintiffs, if
any.)

A. Name of Plaintiff A evan M. Hale
| Address fd ape Cs v mt Wu sc Ce. fa C1 (. ty
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(In item B below, place the full name of the defendant in the first blank, his official
position in the second blank, and his place of employment in the third blank. Use item C
for the names, positions, and places of employment of any additional defendants. )

B. Defendant Olen pbering AR. is employed at Whee Do Ate tines tf

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IV. Statement of claim
(State here as briefly as possible the facts of your case. Describe how each defendant is

- involved. Include also the names of other persons involved, dates and places. Do not give
any legal arguments or cite any cases or statutes. If you intend to allege a number of
related claims, number and set forth each claim in a separate paragraph. Use as much
space as you need. Attach extra sheet if necessary. )

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V. Relief
(State briefly exactly what you want the court to do for you. Make no legal arguments.

Cite no cases or statutes.)

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Signed this ss y\ day of 2 20 \%

bay LU AbH.

(Signature of Plaintiff)

 

J declare under penalty of perjury that the foregoing is true and correct

LL or» Abpven, MsAGalts

(Date) (Signature of Plaintiff)
Case 1:13-cv-02741-RBK-AMD Document1 Filed 04/29/13 Page 13 of 13 PagelD: 13

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